     EXHIBIT A
PROPOSED INTERIM ORDER
                                 UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF DELAWARE


    In re:
                                                                       Chapter 11
    MOON GROUP, INC., et al.
                                                                       Case No. 21-11140 (CSS)
              Debtors.


                                    INTERIM ORDER AUTHORIZING
                                  DEBTOR-IN-POSSESSION FINANCING

             Upon the motion (the “Motion” 1) of the above-captioned debtors (collectively, the

“Debtors”) in these jointly administered chapter 11 cases (collectively, the “Cases”) seeking entry

of an interim order (this “Interim Order”), inter alia:

             1.      Authorizing the Debtors to obtain postpetition financing, consisting of senior

secured superpriority term loans in an aggregate maximum amount of $6,250,000 on an interim

basis and $8,000,000 on a final basis (the “DIP Loans”), from certain investment fund(s) for which

Legalist DIP GP, LLC serves as general partner (as lender, agent, and collateral agent, the “DIP

Lender”), as provided in the DIP Credit Agreement (as defined below) and the Budget (as defined

below), and to incur the DIP Obligations contemplated thereby;

             2.      Authorizing the Debtors to execute and enter into, and to perform all acts necessary

or desirable to consummate the transactions contemplated by, the DIP Credit Agreement and other

DIP Loan Documents;

             3.      Authorizing the Debtors to use the proceeds of the DIP Loans, as permitted in the

DIP Loan Documents;




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             Capitalized terms used but not defined herein have the meanings given to them in the DIP Credit
             Agreement, attached hereto as Exhibit 2.
       4.      Authorizing the Debtors to grant the DIP Lender automatically perfected DIP Liens

(as defined below) in all DIP Collateral to secure payment of all DIP Obligations, comprising:

                (i)     Pursuant to Bankruptcy Code section 364(c)(2), senior DIP Liens on all DIP
Collateral not subject to Permitted Senior Liens (as defined below);

               (ii)    Pursuant to Bankruptcy Code section 364(c)(3), junior DIP Liens on all DIP
Collateral subject to Permitted Senior Liens; and

               (iii)   Pursuant to Bankruptcy Code section 364(d)(1), senior DIP Liens on all on
all Accounts (as defined below);

       5.      Vacating and/or modifying the automatic stay, pursuant to Bankruptcy Code

section 362, to the extent necessary to (x) consummate the transactions contemplated by the DIP

Loan Documents and (y) permit the DIP Lender to exercise any right or remedy provided therein;

and

       6.      Granting the Debtors such other and further relief as is just and proper; and

       The Court having held an interim hearing on the Motion on September 16, 2021, and

considered any objection to the Motion, and good cause appearing therefor, it is hereby FOUND

and CONCLUDED that:

The Debtors’ Chapter 11 Cases; Procedural Background; Jurisdiction and Notice

       A.      On August 12, 2021 (the “Petition Date”), the Debtors each filed voluntary

petitions in this Court for relief under Bankruptcy Code chapter 11. Since the Petition Date, the

Debtors have been operating their businesses and managing their properties as debtors in

possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. The Office of the

United States Trustee (the “UST”) appointed an official committee of unsecured creditors (the

“Committee”) on August 30, 2021. No request has been made for the appointment of a trustee or

examiner in the Cases.




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       B.      This Court has jurisdiction over the Cases and the Motion under 28 U.S.C.

§§ 157(b) and 1334, this matter is a core proceeding under 28 U.S.C. § 157(b)(2), venue is proper

under 28 U.S.C. §§ 1408 and 1409, and the Court has authority to enter this Interim Order

consistent with Article III of the United States Constitution.

       C.      Notice. In compliance with Bankruptcy Rule 4001(b), the Debtors have provided

notice of the Motion to (i) proposed counsel to the Committee; (ii) counsel for the Debtors’

prepetition secured lenders; (iii) the Office of the United States Trustee for the District of

Delaware; (iv) the Internal Revenue Service; (v) the Office of the United States Attorney for the

District of Delaware; (vi) the Debtors’ twenty largest unsecured creditors on a consolidated basis

and/or their counsel; (vii) the DIP Lender; (viii) all parties having or claiming an interest in cash

collateral and/or their counsel; and (ix) all parties that have requested special notice pursuant to

Bankruptcy Rule 2002. The providing of notice in the manner described above was adequate and

sufficient under the circumstances and under Bankruptcy Rule 4001(b), and no further or other

notice need be given.

The Need for Debtor-in-Possession Financing

       D.      A critical need exists for the Debtors to obtain post-petition financing in order to

fund their business operations, solely to the extent set forth under the Budget and under the DIP

Loan Facility (as defined below). The Debtors are unable to obtain further post-petition financing

on an unsecured basis under sections 364(c)(1) or 503(b)(1) of the Bankruptcy Code. Further, the

Debtors assert that they are also unable to obtain more favorable secured credit from sources other

than the DIP Lender that would be allowable under sections 364(c)(2), 364(c)(3) and 364(d)(1) of

the Bankruptcy Code for the purposes set forth in this Interim Order. If the Debtors do not obtain

authorization to borrow under the DIP Loan Facility and the DIP Loan Facility is not approved,

the Debtors will suffer immediate and irreparable harm. After considering all alternatives, the


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Debtors have concluded, in the exercise of their prudent business judgment, that the DIP Loan

Facility is in the best interests of the estates and creditors.

        E.      The DIP Lender has agreed to provide the requested DIP Loans under the DIP

Credit Agreement and use of its cash collateral in accordance with the terms contained in this

Interim Order and in accordance with the DIP Credit Agreement, in the amounts, categories and

times set forth in the Budget, which shall be used for: (i) the necessary operation and maintenance

costs associated with Debtors’ ongoing business operations; and (ii) other costs and expenses of

administration of the Cases.

        F.      Without the DIP Loans, the Debtors will be unable to pay their necessary operation

and maintenance costs, maintain employee obligations, pay lease expenses, and avoid irreparable

harm to the Debtors’ estates. At this time, the Debtors’ ability to finance their operations and the

availability of sufficient liquidity through the incurring of new indebtedness for borrowed money

and other financial accommodations as provided herein are vital to the preservation of their

revenues and the value of the Debtors’ assets.

        G.      Pursuant the Motion, the Debtors have requested the DIP Lender to make an interim

DIP Loan in the amount of $6,250,000 pursuant to this Interim Order and (in the aggregate)

$8,000,000 upon the entry of the Final Order, which funds shall be used by the Debtors solely to

the extent provided in the Budget, to fund operations, and to refinance the pre-petition secured

loan made by KORE Capital Corporation (“KORE”).

        H.      The DIP Lender has indicated its willingness to provide the DIP Loans, subject to

the terms and conditions set forth herein, including the provisions of this Interim Order and the

DIP Credit Agreement, providing that the DIP Liens (as defined below) and the various claims,

superpriority claims and other protections granted pursuant to this Interim Order will not be




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affected by any subsequent reversal or modification of this Interim Order or any other order, as

provided in section 364(e) of the Bankruptcy Code.

       I.      The Lender’s funding of the DIP Loans is conditioned upon (i) the grant of senior

liens on all of the Debtors’ unencumbered property (other than Avoidance Actions or their

proceeds) pursuant to Bankruptcy Code section 364(c)(2), (ii) the grant of liens pursuant to

Bankruptcy Code section 364(c)(3)on the Debtors’ encumbered real and personal property other

than accounts receivable (the “Accounts”) and cash and cash equivalents (“Cash”), which liens

shall be junior and subordinate to the liens of the Debtors’ prepetition lenders and/or secured

creditors (the “Permitted Senior Liens”), and (iii) senior liens on all Accounts and Cash, subject

only to the Carveout (as defined below).

       J.      The terms of the DIP Loans, as set forth in the DIP Loan Documents, have been

negotiated in good faith and at arm’s length between the Debtors and DIP Lender, and the DIP

Lender is entitled to the protections of Bankruptcy Code section 364(e) with respect to all DIP

Loans, DIP Liens, DIP Claims, DIP Obligations, DIP Loan Documents, and rights and remedies

of the DIP Lender. The terms of the DIP Loans are more favorable to the Debtors than terms

generally available in the market. In connection with its consent to this Interim Order, the DIP

Lender has exercised its rights and powers and used the same degree of care and skill in its exercise

as a prudent person would exercise or use under the circumstances in the conduct of such person’s

own affairs.

       K.      The terms of the DIP Loans are fair and commercially reasonable under the

circumstances, reflect the Debtors’ exercise of prudent business judgment consistent with their

fiduciary duties, are supported by reasonably equivalent value and fair consideration, and are

enforceable in accordance with applicable law. As such, the funds advanced shall be deemed to




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have been extended by the DIP Lender in “good faith” as that term is used in section 364(e) of the

Bankruptcy Code and, based upon the express reliance of the protections offered by section 364(e)

of the Bankruptcy Code, the DIP Liens and DIP Claims shall be entitled to the full protection of

section 364(e) of the Bankruptcy Code, including in the event that this Interim Order or any

provision hereof is vacated, reversed or modified, on appeal or otherwise.

       L.      Entry of this Interim Order is in the best interests of the Debtors’ estates.

       M.      The DIP Lender is willing to provide the DIP Loans to the Debtors, but only on the

terms of the DIP Loan Documents.

       N.      To the extent any portion of the foregoing constitute rulings of law, they shall

constitute this Court’s rulings with respect to the matters so-stated.

       WHEREFORE, it is hereby ORDERED as follows:

       1.      The Motion is GRANTED on an interim basis accordance with the terms and

conditions set forth in this Interim Order. Any objections to the Motion with respect to the entry

of this Interim Order that have not been withdrawn, waived, or settled, and all reservation of rights

included therein, are hereby denied and overruled.

       2.      The execution and delivery of the DIP Credit Agreement and all other DIP Loan

Documents by the Debtors are authorized and approved, and the Debtors are authorized and

empowered to (x) execute and deliver to the DIP Lender all other documents and instruments

necessary or desirable to consummate the transactions contemplated thereby, (y) take all other

actions necessary or desirable to carry out the intent and purpose of the DIP Loan Documents, and

(z) otherwise comply with the DIP Loan Documents and all requests of the DIP Lender thereunder.




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The DIP Loan

       3.      Pursuant to sections 361 and 364 of the Bankruptcy Code and the terms and

conditions hereof, until the occurrence of an Event of Default (as defined herein), the Debtors are

hereby authorized to borrow funds pursuant to the terms, conditions and provisions of this Interim

Order and under that certain Debtor in Possession Credit and Security Agreement dated as of

September ___, 2021 (the “DIP Credit Agreement”) and other DIP Loan Documents (the “DIP

Loan Facility”) in an aggregate amount of up to $6,250,000 upon entry of this Interim Order and

up to an aggregate amount of up to $8,000,000 subject to the entry of the Final Order; provided,

however, that the Debtors shall use the proceeds of the DIP Loans (“Proceeds”) and the DIP

Lender’s “cash collateral” within the meaning of section 363(a) of the Bankruptcy Code (the “Cash

Collateral”) solely in compliance with the budget attached hereto as Exhibit 1 (the “Budget”) and

incorporated herein by reference (as it may be amended from time to time with the consent of the

DIP Lender and as provided herein) provided, however, that the Debtors may exceed any line item

in the Budget by up to ten percent (10%) in any week, so long as the aggregate amount of the

variance from the Budget for any week on a rolling net basis is not exceeded by more than ten

percent (10%). Further, the Debtors may use Proceeds and Cash Collateral for any particular line

item in any given period under the Budget up to the aggregate amount set forth for that line item

from the beginning of the period of the Budget through such applicable date. A true and accurate

copy of the DIP Credit Agreement is attached hereto as Exhibit 2.

       4.      The Debtors are authorized to borrow up to $6,250,000 in DIP Loans on an interim

basis in one or more DIP Draws on the terms of the DIP Loan Documents, without application to

or further order by the Court.




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        5.      Payment of Principal, Interest, Fees, Etc. The DIP Loans shall accrue interest from

the Effective Date at the U.S. prime rate (subject to a 4.00%) plus 11.75% per annum; provided,

however, that upon an Event of Default, the DIP Loans shall accrue interest at the additional per

annum interest rate of 4.75%. The principal, interest and other obligations owed with respect to

the DIP Loans shall be due and payable upon the Maturity Date without further order of the Court.

The DIP Lender shall be entitled to reimbursement of reasonable fees and expenses, including,

without limitation, reasonable and documented attorneys’ fees.

        6.      DIP Liens. The DIP Lender is hereby granted security interests in and liens on

(i) senior security interests in and liens on all of the Debtors’ unencumbered property (other than

Avoidance Actions or their proceeds) pursuant to Bankruptcy Code section 364(c)(2), (ii) pursuant

to Bankruptcy Code section 364(c)(3), security interests in and liens on the Debtors’ encumbered

real and personal property other than Accounts and Cash, which liens shall be junior and

subordinate to the Permitted Senior Liens, and (iii) senior liens on all Accounts and Cash subject

only to the Carveout, which the Debtors have (to the extent of their respective right, title, and

interest therein) assigned and conveyed as security, hypothecated, mortgaged, pledged, and set

over and unto the DIP Lender, and which have been automatically perfected notwithstanding any

notice or recordation requirements of non-bankruptcy law (collectively, the “DIP Liens”).

        7.      Use of DIP Loan Proceeds. The DIP Loans shall be used solely as set forth in the

DIP Credit Agreement (including the Budget) and as otherwise provided in this Interim Order for:

(i) the necessary operating costs of the Debtors; (ii) to satisfy the pre-petition KORE credit facility;

(iii) payment of the DIP Loan Expenses and other DIP Obligations, and (iv) other costs and

expenses of administration of the Cases as set forth in the Budget; provided that no portion of the

DIP Loans shall be used for fees, costs, or expenses incurred by any party in (x) investigating or




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pursuing any claim or cause of action against the DIP Lender, any Affiliate thereof, or any other

Indemnified Person or (y) questioning or challenging, or taking any other action that could

reasonably be expected otherwise to impair, any DIP Loan, DIP Lien, DIP Claim, DIP Obligation,

DIP Loan Document, or right or remedy of the DIP Lender.

       8.      Reservation of Rights. Notwithstanding the refinancing of the KORE credit facility,

all rights, claims and counterclaims of the Debtors against KORE are preserved to the fullest

possible extent.

       9.      Payments to DIP Lender. Any and all payments or proceeds remitted to the DIP

Lender pursuant to the provisions of this Interim Order or otherwise shall be received indefeasibly

by the DIP Lender, free and clear of any claim, charge, assessment or other liability, including,

upon entry of a Final Order, any such claim or charge arising out of or based on section 552(b) of

the Bankruptcy Code, whether directly or indirectly, all of which are hereby waived by the Debtors.

       10.     So long as any DIP Obligation remains outstanding, the Debtors shall perform each

covenant contained in the DIP Loan Documents (other than those covenants that, under the DIP

Loan Documents, shall survive full and indefeasible payment of the DIP Obligations).

Default and Remedies

       11.     The DIP Loans shall mature, and all DIP Obligations shall be immediately due and

payable, upon the Maturity Date.

       12.     An Event of Default shall exist during the occurrence and continuation of each of

the events so identified in the DIP Loan Documents.

       13.     Notwithstanding Bankruptcy Code section 362, while any Event of Default has

occurred and is continuing, the DIP Lender may immediately, without further order of or

application to the Court:




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               (i)     Declare the DIP Commitment terminated; and

              (ii)    Declare all DIP Obligations immediately due and payable, without the
requirement of presentment, demand, protest, or any other notice, all of which are waived by the
Debtors.

       14.     Notwithstanding the foregoing, the Debtors or any other party in interest shall,

subject to the Court’s availability, be entitled to an emergency hearing before this Court within

five (5) days after the giving of written notice by the DIP Lender of the occurrence of an Event of

Default. If the Debtors or any other party in interest do not contest the occurrence of the Event of

Default within such five (5) day period, or if there is a timely contest of the occurrence of an Event

of Default and the Court after notice and a hearing declines to stay the enforcement thereof, the

Maturity Date shall be deemed to have occurred for all purposes and the automatic stay, as to the

DIP Lender, shall automatically terminate in all respects.

       15.     In consideration of the DIP Lender’s (x) consent to the current payment of

administrative expenses of the Debtors’ estates to the extent of the Budget and (y) concessions

with respect to the Carveout (as described herein), subject to the entry of the Final Order, the DIP

Lender shall be entitled to a full and complete waiver, with respect to all parties, of Bankruptcy

Code section 506(c) and in no event shall any the DIP Lender or DIP Collateral be subject to any

“surcharge” or the doctrine of “marshalling” by any party in any way whatsoever.

       16.     Notwithstanding anything to the contrary contained in this Interim Order, the liens,

claims and other protections granted to the DIP Lender in this Interim Order shall be subject to a

carveout of $200,000 (the “Carveout”). Unless and until the Carveout Trigger Date (defined

below) occurs, the Debtors shall pay in the ordinary course and as permitted by the Budget all

administrative expenses of the Cases, including all fees and expenses of the professionals retained

by the Debtors and the Committee (the “Professionals”), as provided in any order by the Court

regarding payment of the fees and expenses of Professionals. Notwithstanding the Budget or


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anything else herein or in any other DIP Loan Document to the contrary, from and after the date

(the “Carveout Trigger Date”) of delivery by the DIP Lender to the counsel to the Debtors,

counsel to the Committee and the UST of notice that both (a) an Event of Default has occurred

and is continuing and (b) the DIP Lender has triggered the Carveout, administrative expenses shall

(subject to the last sentence of this Paragraph 16) be funded solely from the Carveout, which shall

be set aside solely for payment of (x) fees and expenses of Professionals, (y) fees, expenses, and

costs then due and payable to the UST and/or Clerk of the Court under 28 U.S.C. § 1930 and

(z) potential future fees, expenses, and costs of a statutory trustee appointed in Cases; provided

that in no event shall:

              (i)     Payment of any amount contemplated by the Carveout (or any other amount
owed to any Professional) constitute a personal liability of the DIP Lender, any Affiliate, or any
other Indemnified Person; or

                (ii)   Any such amount be used to fund fees, costs, or expenses incurred in
(x) investigating or pursuing any claim or cause of action against the DIP Lender, any Affiliate
thereof, or any other Indemnified Person or (y) questioning or challenging, or taking any other
action that could reasonably be expected otherwise to impair, any DIP Loan, DIP Lien, DIP Claim,
DIP Obligation, DIP Loan Document, or right or remedy of the DIP Lender.

For the avoidance of doubt, the foregoing shall in no way limit payment of fees and expenses of

(i) Professionals incurred in accordance with the Budget prior to the Carveout Trigger Date and

otherwise approved by the Court or (ii) any Transaction Fees approved by the Court becoming due

to SC&H Group, Inc. as a result of the closing of a Transaction (as defined in the Debtors’

Application to Retain SC&H Group, Inc. as Investment Banker [Docket No. 73]) regardless of

when such closing occurs), and the DIP Lender consents to any Court approved fees due to SC&H

being paid directly from proceeds of the Transaction generating such fees, separate and apart from

the Carveout.

        17.     Subject to Paragraph 14 above, the automatic stay imposed by Bankruptcy Code

section 362(a) is and shall remain modified to the extent necessary to implement and effectuate in


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full this Interim Order and the other DIP Loan Documents (expressly including any exercise of

rights and remedies by the DIP Lender) and the transactions contemplated thereby.

Miscellaneous Provisions

       18.     Any stay, modification, reversal, or vacation of this Interim Order shall not, in any

way whatsoever, affect any DIP Loan, DIP Lien, DIP Claim, DIP Obligation, other DIP Loan

Document, or right or remedy of the DIP Lender. Notwithstanding any such stay, modification,

reversal, or vacation, all DIP Loans, DIP Liens, DIP Claims, DIP Obligations, other DIP Loan

Documents, and rights and remedies of the DIP Lender made, available, and/or in effect prior to

the effective date of such stay, modification, reversal, or vacation shall be governed in all respects

by this Interim Order. The DIP Lender is entitled to and shall have in all cases the protections of

Bankruptcy Code section 364(e) with respect to all DIP Loans, DIP Liens, DIP Claims, DIP

Obligations, other DIP Loan Documents, and rights and remedies and shall be so protected

notwithstanding any stay, modification, reversal, or vacation of this Interim Order.

       19.     This Interim Order shall survive entry of any order, in this Court or any other court

of competent jurisdiction, (w) confirming a chapter 11 plan (and, to the extent not satisfied in full

in cash on the effective date thereof, the DIP Obligations shall not be discharged under or by entry

of such order, notwithstanding Bankruptcy Code section 1141(d)), (x) appointing an examiner or

chapter 11 trustee, (y) converting the Cases to cases under Bankruptcy Code chapter 7, or

(z) dismissing the Cases. This Interim Order, together with all DIP Loans, DIP Liens, DIP Claims,

DIP Obligations, other DIP Loan Documents, and rights and remedies of the DIP Lender shall

continue in full force and effect, notwithstanding the entry of any such order, until full and

indefeasible payment of all DIP Obligations.




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       20.     No Third-Party Beneficiaries. The provisions of this Interim Order shall be binding

upon and inure to the benefit of the DIP Lender, the Debtors and their respective successors and

assigns (including any trustee or other fiduciary hereafter appointed as a legal representative of the

Debtors or with respect to the property of the estates of the Debtors). No rights are created

hereunder for the benefit of any third party, any creditor, or any direct, indirect or incidental

beneficiary.

       21.     Modification of Stay. The automatic stay imposed by virtue of section 362 of the

Bankruptcy Code is hereby vacated and modified insofar as necessary to permit (i) the Debtors to

grant the DIP Liens to the DIP Lender, as applicable, and (ii) the parties to take any action

specifically authorized or contemplated by this Interim Order.

       22.     Notice. The Debtors shall, within two business days following the entry of this

Interim Order, serve by regular mail, copies of a notice of entry of this Interim Order, together

with a copy of this Interim Order, to: (i) proposed counsel to the Committee; (ii) counsel for the

Debtors’ prepetition secured lenders; (iii) the Office of the United States Trustee for the District

of Delaware; (iv) the Internal Revenue Service; (v) the Office of the United States Attorney for

the District of Delaware; (vi) the Debtors’ twenty largest unsecured creditors on a consolidated

basis and/or their counsel; (vii) the DIP Lender; (viii) all parties having or claiming an interest in

cash collateral and/or their counsel; and (ix) all parties that have requested special notice pursuant

to Bankruptcy Rule 2002. The notice of entry of this Interim Order shall state that any party-in-

interest objecting to the entry of a final order on the Motion shall file a written objection with the

United States Bankruptcy Court Clerk for the District of Delaware no later than 4:00 p.m. on

________, 2021. A final hearing shall be held on the Motion and any objections thereto on

__________ , 2021 at __:__ .m. prevailing Eastern time.




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         23.   In the event of any inconsistency between any other DIP Loan Document and this

Interim Order, the terms of this Interim Order shall govern.

         24.   Effectiveness. The findings of fact and conclusions of law contained in this Interim

Order shall take effect immediately upon the Effective Date. The liens and claims granted to the

DIP Lender under this Interim Order, and the priority thereof, and any payments made pursuant to

this Interim Order, shall be binding (subject to the terms of this Interim Order) on the Debtors, any

successor trustee or examiner, any Chapter 7 Trustee, and all creditors of the Debtors, as provided

in section 364(e) of the Bankruptcy Code.

         25.   Notwithstanding Bankruptcy Rules 4001(a)(3), 6004(h), 6006(d), 7062, and 9014,

or anything else in the Bankruptcy Rules or any other applicable rule of procedure, this Interim

Order shall be valid, take full effect, and be enforceable immediately upon entry hereof. There

shall be no stay of execution or effectiveness of this Interim Order, all of which are hereby waived

for cause shown.

         26.   The Court has and shall retain jurisdiction to enforce this Interim Order, including

to hear any motion or application by the DIP Lender related hereto or to any other DIP Loan

Document, according to its terms.



Dated:


THE HONORABLE CHRISTOPHER S. SONTCHI
UNITED STATES BANKRUPTCY JUDGE




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  EXHIBIT 1
PROPOSED BUDGET


  (To be provided)
     EXHIBIT 2
DIP CREDIT AGREEMENT
